 8:05-cr-00199-LSC-TDT        Doc # 64    Filed: 11/21/05    Page 1 of 1 - Page ID # 776




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )           8:05CR199
                     Plaintiff,                  )
                                                 )              ORDER
              vs.                                )
                                                 )
FRED DAVID RODRIGUEZ-SOLIS,                      )
JOSE C. CONTRERAS-CORTEZ,                        )
JOSUE MARTIN RODRIGUEZ-LOPEZ and                 )
JOSE HERNANDEZ-MENDOZA,                          )
                                                 )
                     Defendants.                 )


       Defendant Jose Hernandez-Mendoza’s oral motion to extend the time to file a brief is
granted.


       IT IS ORDERED that all defendants are granted an extension of time to December
1, 2005 in which to file a brief in response to their motions. The government may have until
December 7, 2005 to respond.
       DATED this 21st day of November, 2005.
                                          BY THE COURT:
                                          s/Thomas D. Thalken
                                          United States Magistrate Judge
